                 UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA,
STATE OF NORTH CAROLINA,
STATE OF CALIFORNIA,
STATE OF COLORADO,
STATE OF CONNECTICUT,
STATE OF ILLINOIS,
COMMONWEALTH OF
MASSACHUSETTS,
STATE OF MINNESOTA,
STATE OF OREGON, and               Case No. 1:24-cv-00710-WO-
STATE OF TENNESSEE,                JLW


Plaintiffs,                        REPLY MEMORANDUM OF LAW IN
                                   SUPPORT OF CUSTOMER
         v.                        DEFENDANTS’ MOTION TO
                                   DISMISS THE FIRST AMENDED
REALPAGE, INC.,                    COMPLAINT
CAMDEN PROPERTY TRUST,
CORTLAND MANAGEMENT, LLC,
GREYSTAR MANAGEMENT
SERVICES, LLC,
LIVCOR, LLC,
PINNACLE PROPERTY
MANAGEMENT SERVICES, LLC,
and
WILLOW BRIDGE PROPERTY
COMPANY, LLC


Defendants.


REPLY MEMORANDUM OF LAW IN SUPPORT OF CUSTOMER DEFENDANTS’
          MOTION TO DISMISS THE AMENDED COMPLAINT




 Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 1 of 38
                            TABLE OF CONTENTS

INTRODUCTION ............................................... 1

ARGUMENT ................................................... 4

I.     THE FAC FAILS TO PLEAD THE FACTS NECESSARY TO
       ALLEGE AN ANTITRUST CONSPIRACY ........................ 4

II. PLAINTIFFS FAIL TO SHOW THEY PLAUSIBLY ALLEGED
    COUNT 1 ............................................... 6

       A.    Plaintiffs Identify No Alleged Direct or
             Circumstantial Evidence of an Agreement Among
             All RealPage Customers to Exchange Information ... 7

             1.    Plaintiffs Have No Direct Evidence........... 7

             2.    Plaintiffs Have No Indirect Evidence ....... 10

                   a.   No parallel conduct .................... 11

                   b.   “Plus Factors” cannot rescue
                        plaintiffs’ claim ...................... 12

       B.    Plaintiffs Identify No Anticompetitive Effects .. 16

             1.    By Mischaracterizing Fourth Circuit Law,
                   Plaintiffs Concede They Allege No Direct
                   Evidence of Anticompetitive Effects......... 16

             2.    Plaintiffs Identify No Indirect Evidence
                   of Anticompetitive Effects .................. 17

III. PLAINTIFFS FAIL TO ESTABLISH THAT THEY ADEQUATELY
     PLEADED COUNT 2 ...................................... 20

       A.    Plaintiffs Identify No Allegations Plausibly
             Suggesting an Agreement to “Align Pricing” ...... 21

       B.    Plaintiffs Fail to Identify Anticompetitive
             Effects .......................................... 25

IV. PLAINTIFFS’ STATE LAW CLAIMS SHOULD BE DISMISSED ..... 28

CONCLUSION ................................................ 29



                                      i

     Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 2 of 38
                       TABLE OF AUTHORITIES

                                                                   Page(s)

                                CASES

1-800 Contacts, Inc. v. FTC,
     1 F.4th 102 (2d Cir. 2021) ....................... 17, 26

In re Air Cargo Shipping Services Antitrust Litigation,
     2010 WL 10947344 (E.D.N.Y. Sept. 22, 2010) ............ 5

In re Amazon.com, Inc. eBook Antitrust Litigation,
     2023 WL 6006525 (S.D.N.Y. July 31, 2023) ............. 19

American Chiropractic Association v. Trigon Healthcare,
     Inc.,
     367 F.3d 212 (4th Cir. 2004) ....................... 7, 8

American Column & Lumber Co. v. United States,
     257 U.S. 377 (1921) .................................. 20

In re Baby Food Antitrust Litigation,
     166 F.3d 112 (3d Cir. 1999) .......................... 15

Brantley v. NBC Universal, Inc.,
     675 F.3d 1192 (9th Cir. 2012) ........................ 17

Bell Atlantic Corp. v. Twombly,
     550 U.S. 544 (2007) .............................. 17, 23

Burtch v. Milberg Factors, Inc.,
     662 F.3d 212 (3d Cir. 2011) .......................... 13

In Re: Concrete & Cement Additives Antitrust
     Litigation,
     24-md-03097(S.D.N.Y June 25, 2025) ................... 12

Dickson v. Microsoft Corp.,
     309 F.3d 193 (4th Cir. 2002) ..................... passim

In re Elevator Antitrust Litigation,
     502 F.3d 47 (2d Cir. 2007) ........................... 14

Epic Games, Inc. v. Apple, Inc.,
     67 F.4th 946 (9th Cir. 2023) ......................... 22


                                  ii

  Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 3 of 38
In re Flat Glass Antitrust Litigation,
     385 F.3d 350 (3d Cir. 2004) ...................... 13, 15

Fortner Enterprises Inc. v. U.S. Steel Corp.,
     394 U.S. 495 (1969) .................................. 27

Gibson v. Cendyn Group, LLC,
     2024 WL 2060260 (D. Nev. May 8, 2024) ........ 11, 12, 22

Gibson v. MGM Resorts International,
     2023 WL 7025996 (D. Nev. Oct. 24, 2023) ............... 6

Hackman v. Dickerson Realtors, Inc.,
     520 F. Supp. 2d 954 (N.D. Ill. 2007) ................. 29

Honey Bum, LLC v. Fashion Nova, Inc.,
     2022 WL 385185 (C.D. Cal. Jan. 6, 2022) ............... 7

In re Insurance Brokerage Antitrust Litigation,
     618 F.3d 300 (3d Cir. 2010) .......................... 12

Interstate Circuit, Inc. v. United States,
     306 U.S. 208 (1939) ............................... 8, 10

Johnson v. American Towers, LLC,
     781 F.3d 693 (4th Cir. 2015) .......................... 5

Kendall v. Visa U.S.A., Inc.,
     518 F.3d 1042 (9th Cir. 2008) ......................... 6

In re Local TV Advertising Antitrust Litigation,
     2022 WL 3716202 (N.D. Ill. Aug. 29, 2022) ............ 19

Ohio v. American. Express Co.,
     585 U.S. 529 (2018) .............................. 17, 26

Parducci v. Overland Solutions, Inc.,
     399 F. Supp. 3d 969 (N.D. Cal. 2019) ................. 29

In re RealPage, Inc., Rental Software Antitrust
     Litigation,
     709 F. Supp. 3d 478 (M.D. Tenn. 2023) ............ 10, 15

Robertson v. Sea Pines Real Estate Cos.,
     679 F.3d 278 (4th Cir. 2012) ...................... 6, 16



                                  iii

  Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 4 of 38
SD3, LLC v. Black & Decker (U.S.) Inc.,
     801 F.3d 412 (4th Cir. 2015) ................... 1, 4, 11

Sea-Roy Corp. v. Parts R Parts, Inc.,
     1997 WL 1046282 (M.D.N.C. 1997), aff'd, 173 F.3d
     851 (4th Cir. 1999) .................................. 17

Standard Oil Co. of California v. United States,
     337 U.S. 293 (1949) .............................. 27, 28

Synopsys, Inc. v. ATopTech, Inc.,
     2015 WL 4719048 (N.D. Cal. Aug. 7, 2015) ............. 28

Systemcare, Inc. v. Wang Laboratories Corp.,
     117 F.3d 1137 (10th Cir. 1997) ....................... 22

Tampa Elec. Co. v. Nashville Coal Co.,
     365 U.S. 320 (1961) .................................. 28

Todd v. Exxon Corp.,
     275 F.3d 191 (2d Cir. 2001) ...................... 18, 20

United States v. Container Corp. of America,
     393 U.S. 333 (1969) .................... 8, 9, 10, 18, 19




                                  iv

  Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 5 of 38
                                INTRODUCTION

      As Customer Defendants explained in their motion, Fourth

Circuit precedent defeats both Count 1 (alleged conspiracy to

exchange information through RealPage) and Count 2 (alleged

vertical agreements between each customer and RealPage to

“align pricing”).          In response, plaintiffs double down on

their    theory     that    RealPage    is   a    walking     conspiracy          by

insisting that Count 1 reaches every landlord that ever

licensed any RealPage product—most of which have nothing to

do with revenue management.            And they try reframing Count 2,

shifting their focus away from aligning prices to abstract

“process,” while inviting the Court to contradict controlling

precedent.       Plaintiffs’ response confirms they have no viable

claims against Customer Defendants.

      First, rather than demonstrate that the FAC answers the

“who,    what,    when[,]    and   where     of    the   claimed     antitrust

misconduct,” SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d

412, 430 (4th Cir. 2015),1 plaintiffs insist they need not

answer    them    because they pleaded            an   “information-sharing



1   All internal quotation marks, citations, footnotes, and
    original alterations are omitted unless specified otherwise.


                                       1

    Case 1:24-cv-00710-WO-JLW   Document 148      Filed 06/26/25   Page 6 of 38
claim” (Opp.31).     But the Fourth Circuit requires plaintiffs

to answer these questions in all cases, and plaintiffs do not

do so here.

    Second, plaintiffs assert they alleged evidence of a

horizontal information-sharing agreement among all RealPage

customers    and   anticompetitive     effects,     but       they   pleaded

neither.    Plaintiffs claim they alleged direct evidence of an

agreement because they identified “written” vertical software

licenses between each customer and RealPage.              (Opp.10.)      But

vertical software licenses are not direct evidence of a

horizontal conspiracy among all RealPage’s customers.                     See

Dickson v. Microsoft Corp., 309 F.3d 193, 203 (4th Cir. 2002).

Nor are they evidence of parallel conduct, necessary to plead

a circumstantial case, because plaintiffs failed to allege

that any Customer Defendant licensed any RealPage product

around the same time as another Customer Defendant. (Opp.32.)

    Plaintiffs’ arguments that they pleaded anticompetitive

effects based on the supposed information-sharing agreement

are doomed because they concede:         (1) they allege no rental

price at any apartment (Opp.23); (2) no customer “get[s] to

see” another’s “individual . . . data” through RealPage (id.5);



                                   2

  Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25    Page 7 of 38
and (3) they inflated the alleged market shares by including

every RealPage customer, even those that never subscribed to

RealPage’s RMS (id.25-36).

    Third, Count 2 is similarly flawed. Plaintiffs’ argument

that they pleaded an agreement to “align pricing” between

each Customer Defendant and RealPage by identifying written

RMS licenses (Opp.51-52) fails because plaintiffs identify no

provision in those licenses that “aligns” or restrains any

customer’s    prices.         Instead,    plaintiffs      concede      those

licenses do not restrain any customer’s “discretion” to set

prices unilaterally (id.64) and identify no facts plausibly

suggesting any customer’s prices became “aligned.”

    Recognizing they cannot allege any pricing alignment,

plaintiffs recast Count 2 as challenging vertical agreements

to “align pricing processes.”             (Opp.71.)     But plaintiffs’

pivot   cannot   save   their     claim   because     their    allegations

contradict    this      theory:    Customer      Defendants’        pricing

processes remained independent because Customer Defendants

rejected the RMS’s suggested prices more than half the time.

(Mot.33.)




                                    3

  Case 1:24-cv-00710-WO-JLW    Document 148   Filed 06/26/25   Page 8 of 38
       Count 2 should also be dismissed because plaintiffs

aggregate the effects of all RealPage customers’ licenses to

plead     anticompetitive        effects,   which    the    Fourth      Circuit

forbids.      Dickson, 309 F.3d at 210.           Plaintiffs ask for an

exemption from Dickson’s anti-aggregation rule, but offer no

argument that does not contradict that controlling precedent.

       Finally, plaintiffs argue their state law claims should

survive even if the Court dismisses their Sherman Act claims

(Opp.72), but identify no substantive differences between

state and federal law.

                                   ARGUMENT

I.     THE FAC FAILS TO PLEAD THE FACTS
       NECESSARY TO ALLEGE AN ANTITRUST CONSPIRACY

       The FAC should be dismissed because plaintiffs do not

meaningfully dispute that they failed to answer “the who,

what, when[,] and where of the claimed” conspiracies. (Mot.13

(quoting SD3, 801 F.3d at 430).)            Plaintiffs primarily argue

they need not answer these basic questions                        because they

pleaded an “information-sharing claim” and “facts about . . .

a written agreement.”            (Opp.31-33.)       But they identify no

basis for different pleading burdens based on the type of

claim alleged.       Nor could they: The Fourth Circuit has held



                                       4

     Case 1:24-cv-00710-WO-JLW    Document 148   Filed 06/26/25    Page 9 of 38
that all complaints must answer “who, did what, to whom (or

with whom), where, and when.”            Johnson v. Am. Towers, LLC,

781 F.3d 693, 709 (4th Cir. 2015).2

       The   “written      agreement[s]”       plaintiffs        identify     are

“vertical” software “license[s] . . . between RealPage and

[each Customer Defendant]” (Opp.57) that do not establish

Count     1’s    alleged    horizontal     agreement       among       RealPage

customers to exchange information.               See infra 7-8.             Those

licenses also do not excuse plaintiffs’ Count 2 pleading

failures     because    nothing    in    them    “aligns”        any   Customer

Defendant’s prices.         See infra 21-22.

       Plaintiffs’ hand-waving that they answered the who, what,

when, and where of the alleged conspiracies just underscores

the FAC’s deficiencies.           Plaintiffs identify the “who” as

every “landlord[] using AIRM, YieldStar, OneSite, PAB, or BI.”

(Opp.32.)       But that fails because it references hundreds of


2   Plaintiffs insist they “do not face a higher standard on a
    motion to dismiss simply because they had access to
    precomplaint discovery.” (Opp.6.) But the authority on
    which   plaintiffs   rely   just   highlights   the   FAC’s
    shortcomings. In re Air Cargo Shipping Servs. Antitrust
    Litig., 2010 WL 10947344, at *11 (E.D.N.Y. Sept. 22, 2010)
    (“The allegations establish who Sanfilippo spoke with, what
    was discussed and agreed upon, and provide a general time
    frame.”).


                                     5

    Case 1:24-cv-00710-WO-JLW   Document 148    Filed 06/26/25    Page 10 of 38
landlords that licensed one of those five RealPage products.

See Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1047-48 (9th

Cir. 2008) (rejecting allegations that “banks” entered into

alleged conspiracy because banks “are large institutions with

hundreds of employees entering into contracts . . . daily”).

Plaintiffs also cannot identify when the alleged conspiracies

started, arguing only that they started at some unidentified

time when “landlords . . . signed agreements with RealPage.”

(Opp.32.)       See Gibson v. MGM Resorts Int’l, 2023 WL 7025996,

at *4 (D. Nev. Oct. 24, 2023) (dismissing claim because

plaintiffs “d[id] not know when the purported conspiracy

began”).3

II. PLAINTIFFS FAIL TO SHOW THEY PLAUSIBLY ALLEGED COUNT 1

       Plaintiffs fail to establish they adequately pleaded

direct     or   circumstantial      evidence    of    (A)       the   supposed

agreement to exchange information and (B) anticompetitive

effects.



3   Contrary to plaintiffs’ argument (Opp.33), Robertson v. Sea
    Pines Real Estate Cos., 679 F.3d 278 (4th Cir. 2012) does
    not exempt them from identifying when the conspiracy
    started.     It reached a much narrower conclusion:
    Plaintiffs need not identify “times and locations of []
    allegedly conspiratorial meetings.” Id. at 289.


                                     6

    Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25    Page 11 of 38
    A.      Plaintiffs Identify No Alleged Direct or
            Circumstantial Evidence of an Agreement Among All
            RealPage Customers to Exchange Information

            1.     Plaintiffs Have No Direct Evidence

    Plaintiffs        identify     no    allegations       that     directly

establish the alleged conspiracy with “no inferences.”                     Am.

Chiropractic Ass’n v. Trigon Healthcare, Inc., 367 F.3d 212,

226 (4th Cir. 2004).         Instead, plaintiffs argue that vertical

licenses    between     RealPage    “and   every    landlord      that    uses

any . . . RealPage software product[] . . . to shar[e] its

confidential . . . data” with RealPage constitute direct

evidence.        (Opp.10.)    But RealPage’s vertical licenses with

customers are not evidence (much less direct evidence) of a

horizontal agreement among those customers.              See Dickson, 309

F.3d at 203 (refusing to infer conspiracy among software users

based on vertical licenses with Microsoft); Honey Bum, LLC v.

Fashion Nova, Inc., 2022 WL 385185, at *3 (C.D. Cal. Jan. 6,

2022) (declining “to deem an agreement horizontal based only

on evidence of vertical agreements”).

    In fact, plaintiffs identify nothing in any RealPage

license describing how RealPage would use any customer’s data.

See Am. Chiropractic, 367 F.3d at 227 (“coverage policies”

were “not direct evidence” because they required “inferential

                                     7

 Case 1:24-cv-00710-WO-JLW      Document 148   Filed 06/26/25   Page 12 of 38
leap that [defendant] drafted . . . the policies only after

reaching an agreement with” third parties).              And plaintiffs

admit that the licenses “stipulate[]” only “that the landlord

is sharing its confidential, nonpublic data with RealPage”

(Opp.10), not other landlords.

    Plaintiffs      argue     that    RealPage’s         licenses       are

nevertheless direct evidence because each customer knew that

its license’s “nature and design” (Opp.14) could create “a

reciprocal   [information] exchange”        (Opp.11).         The   Fourth

Circuit rejected this same argument in Dickson, when the

plaintiffs tried to bootstrap vertical software licenses to

infer a horizontal conspiracy among Microsoft licensees.                309

F.3d at 217 (Gregory, J., dissenting) (faulting majority for

not inferring a conspiracy among licensees where plaintiff

alleged that “the nature of the conspiracy, by design and by

necessity,   was   broader    than    any   one    agreement        between

Microsoft and a[] [licensee]”).

    Plaintiffs next argue they pleaded direct evidence under

United States v. Container Corp. of America, 393 U.S. 333

(1969), and Interstate Circuit, Inc. v. United States, 306

U.S. 208 (1939) (Opp.13-14), but neither provides support.



                                  8

 Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 13 of 38
In    Container     Corp.,     “the    essence       of     the      [defendants’]

agreement     was    to      furnish        price     information         whenever

requested.”       393 U.S. at 335.          The Court held that three key

facts established that agreement:

     • Each defendant directly “request[ed]” from its
       competitor “specific” prices charged to “identified
       customers.” Id. at 334-35.

     • The information exchanged concerned “specific sales
       to identified customers, not a statistical report
       on the average cost to all members.” Id.

     • Once a defendant had its competitors’ specific
       pricing information, the defendant quoted the same
       price to customers in the “majority of instances.”
       Id. at 339 (Fortas, J., concurring).

       Those allegations are missing here.                  First, rather than

allege RealPage customers directly provided each other with

“specific” prices, id. at 334, plaintiffs admit customers “do

not [receive]       each     other’s    individual .          . .      data”    from

RealPage.     (Opp.4.)        Indeed, plaintiffs allege that other

customers’    information       is     “pooled”      by     RealPage     with    the

customer’s    own data (Opp.7)              but do not        allege     that any

customer    could    identify     any       other    customer’s        data    after

pooling.

       Second, plaintiffs do not allege Customer Defendants

quoted    the same price        to customers           in    the     “majority    of


                                        9

 Case 1:24-cv-00710-WO-JLW      Document 148        Filed 06/26/25    Page 14 of 38
instances.”     Container Corp., 393 U.S. at 339 (Fortas, J.,

concurring).     Quite the opposite: Plaintiffs admit Customer

Defendants overrode prices suggested by RealPage’s RMS in

most instances (Opp.35) and that the prices suggested by

RealPage’s     RMS   are   also       individualized      based      on    user

customizations (Mot.6-7).

    Finally, plaintiffs’ reliance on Interstate Circuit to

argue   they   pleaded     direct     evidence    based     on    RealPage’s

“invitation to use its software” (Opp.14) is misplaced.                    Even

the RealPage MDL court recognized that RealPage’s invitation

to use its software “is not . . . direct evidence of a

horizontal conspiracy” because it “requires the Court to

infer that RealPage’s .           .   .    clients worked together           as

competitors.”        In    re    RealPage,     Inc.,     Rental      Software

Antitrust Litig., 709 F. Supp. 3d 478, 504 (M.D. Tenn. 2023).

          2.    Plaintiffs Have No Indirect Evidence

    Plaintiffs also argue they pleaded an agreement through

parallel conduct and “plus factors” (Opp.14-17), but they

identify no allegations plausibly suggesting parallel conduct.

And their “plus factors” are irrelevant and also insufficient

as a matter of law.



                                      10

 Case 1:24-cv-00710-WO-JLW      Document 148   Filed 06/26/25    Page 15 of 38
                 a.        No parallel conduct

       Plaintiffs     do    not   dispute   they     fail    to    allege    that

Customer Defendants licensed any RealPage product around the

same time or received the same information from RealPage, or

that    any   Customer      Defendant    conditioned        its    decision    to

license a RealPage product on another Customer Defendant

providing information to RealPage.               (Mot.21-28.)      Rather than

supply key timing allegations from pre-complaint discovery,

plaintiffs invoke SD3 to suggest they need only establish

that    Customer      Defendants      eventually       started      “shar[ing]

nonpublic, competitively sensitive data daily with RealPage.”

(Opp.15.)     But close-in-time decisions by the defendants were

crucial to the Fourth Circuit’s holding that the defendants

in SD3 acted in parallel.             801 F.3d at 420 (explaining “it

took only . . . months for” all defendants to act).

       Plaintiffs argue Gibson v. Cendyn Group, LLC, 2024 WL

2060260 (D. Nev. May 8, 2024) (“Gibson II”) “is instructive”

and “turned on the plaintiffs’ failure to plausibly allege

the exchange of confidential information.”                    (Opp.34.)       But

Gibson II concluded that it was equally “determinative” that

customer defendants there “began licensing [the same RMS] at




                                       11

 Case 1:24-cv-00710-WO-JLW        Document 148    Filed 06/26/25   Page 16 of 38
different times over an approximately 10-year period.”                       2024

WL 2060260, at *3-4.          Plaintiffs’ allegations here are even

more deficient because they do not allege when any Customer

Defendant began licensing any RealPage product.                   See In Re:

Concrete & Cement Additives Antitrust Litig., 24-md-03097,

ECF No. 300 at 23, 30 (S.D.N.Y June 25, 2025) (holding that

“unseasonably long delays between the allegedly parallel acts

will refute rather than support allegations of conspiracy”

and    refusing    to    infer   conspiracy     from    defendants’         price

increases over “a ten-month period”).

       Plaintiffs also try to plead parallel conduct by alleging

that    Customer       Defendants    “know[]”    that     other       customers

provide data to RealPage.           (Opp.15.)     But “allegations that

each [Customer Defendant] knew about” the information “the

other [Customer Defendants]” provided to RealPage “manifestly

do    not   describe     a   horizontal    conspiracy.”          In    re    Ins.

Brokerage Antitrust Litig., 618 F.3d 300, 331 (3d Cir. 2010).

                  b.     “Plus Factors” cannot rescue plaintiffs’
                         claim

       Plaintiffs’ “plus factors” are irrelevant given their

failure to plead parallel conduct (Mot.28) and insufficient

under settled law.


                                      12

 Case 1:24-cv-00710-WO-JLW       Document 148   Filed 06/26/25   Page 17 of 38
    No motive.     Plaintiffs incorrectly argue that Customer

Defendants were motivated to agree to an information-exchange

conspiracy with every other RealPage customer so they could

“better exploit” RealPage’s RMS to charge higher prices.

(Opp.16.)      These   allegations     are    “legally        insufficient”

because “all entrepreneurs have a legitimate understandable

motive to increase profits.” Burtch v. Milberg Factors, Inc.,

662 F.3d 212, 229 (3d Cir. 2011); see also In re Flat Glass

Antitrust Litig., 385 F.3d 350, 360 (3d Cir. 2004) (defendants’

motivation to “set[] their prices at a profit-maximizing”

level is not a plus factor) (Opp.16).           Meanwhile, plaintiffs

concede many reasons why Customer Defendants unilaterally

wish to use RealPage’s RMS.      (Mot.6-7.)         And they identify no

allegations plausibly suggesting that any Customer Defendant

charged higher prices after licensing RealPage’s RMS, or why

unidentified    RealPage     customers      would    join     the   alleged

conspiracy even though they do not license RealPage’s RMS.

    No unusual communications.           Plaintiffs do not dispute

that their references to “so-called ‘market surveys’” and

“call arounds” have nothing to do with RealPage’s products.

(Mot.31.)    Instead, they argue the Court should infer an



                                  13

 Case 1:24-cv-00710-WO-JLW   Document 148    Filed 06/26/25    Page 18 of 38
agreement among       Customer   Defendants       to    share information

through RealPage because         they    allegedly shared different

information    in   other    contexts.       (Opp.17.)           But    absent

“evidence of linkage between” market surveys, call arounds,

and RealPage products, plaintiffs “merely” suggest that “if

it happened there, it could have happened here”—and that falls

short.    In re Elevator Antitrust Litig., 502 F.3d 47, 52 (2d

Cir. 2007) (affirming dismissal of antitrust claims).                    While

plaintiffs    reference a     few communications among               Customer

Defendants    about    RealPage’s    products,         plaintiffs      do   not

dispute    those    communications       were     only     about     “product

enhancements.”      (Mot.17-18.)

    No acts against self-interest. Plaintiffs do not dispute

that courts have routinely held that competitors exchanging

aggregated information through a third-party platform is in

their self-interest.      (Mot.29-30.)      Instead, plaintiffs twist

their allegations to argue it was against Customer Defendants’

self-interest to share “granular, transaction-level data”

with each other.       (Opp.16.)    But plaintiffs elsewhere admit

Customer Defendants (1) provided “granular” information only

to RealPage and (2) “do not get to see each other’s individual



                                    14

 Case 1:24-cv-00710-WO-JLW   Document 148       Filed 06/26/25   Page 19 of 38
shared data” through RealPage.         (Id.5.)   Moreover, plaintiffs

allege it was in each customer’s self-interest to use a

revenue management product that could help them adjust prices

(including downward) to reflect market conditions.                 (See FAC

¶¶ 47, 170, 172.)

    Plaintiffs rely on Flat Glass and the RealPage MDL, but

neither lends support.        Flat Glass observed in a footnote

that a defendant “unilateral[ly]” providing “confidential

price   information”   to    competitors     could    be      against    that

defendant’s self-interest.      385 F.3d at 361 n.12.            It did not

disturb Third Circuit precedent holding that “[g]athering

competitors’   price    information       can    be    consistent        with

independent competitor behavior.”           In re Baby Food Antitrust

Litig., 166 F.3d 112, 126 (3d Cir. 1999).              And the RealPage

MDL is distinguishable because, unlike there, plaintiffs here

allege that providing data to RealPage was a condition to

licensing RealPage’s products, and that agreeing to that

condition was in each Customer Defendant’s self-interest.

(Mot.6.)




                                  15

 Case 1:24-cv-00710-WO-JLW   Document 148    Filed 06/26/25    Page 20 of 38
       B.   Plaintiffs Identify No Anticompetitive Effects

       By distorting controlling law and inflating their market

share allegations, plaintiffs’ opposition only reinforces

their failure to plausibly allege that Count 1’s supposed

information exchange caused anticompetitive effects in each

relevant market.

            1.   By Mischaracterizing Fourth Circuit Law,
                 Plaintiffs Concede They Allege No Direct
                 Evidence of Anticompetitive Effects

       Plaintiffs identify no allegations of direct evidence

plausibly suggesting Customer Defendants’ prices increased

above competitive levels because they licensed RealPage’s

products, but instead insist that Robertson v. Sea Pines Real

Est. Cos., 679 F.3d 278, does not require them to allege

prices increased.       (Opp.23.)     Plaintiffs misread Robertson:

It   says   nothing   about    the   standard    for    pleading      direct

evidence because the plaintiffs there relied only on indirect

evidence.    679 F.3d at 290-91.

       Plaintiffs’ “direct evidence” theory falls apart further

from    there.        Plaintiffs      point     only     to    theoretical

possibilities    that   data    in   RealPage’s      RMS   could     “enable

Defendants to push pricing higher,” including by “creat[ing]

a [positive] feedback loop.”         (Opp.20-22.)      Yet plaintiffs do

                                     16

 Case 1:24-cv-00710-WO-JLW     Document 148   Filed 06/26/25   Page 21 of 38
not allege the data provided by RealPage’s products caused

Customer Defendants’ prices to behave this way                  and such

“theoretical” possibilities are “not ‘direct’” evidence.                 1-

800 Contacts, Inc. v. FTC, 1 F.4th 102, 118 (2d Cir. 2021);

see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)

(“mere possibility” that conduct occurred insufficient to

state a claim); Sea-Roy Corp. v. Parts R Parts, Inc., 1997 WL

1046282,    at   *18-19   (M.D.N.C.    1997)   (rejecting      Section       1

claims absent “evidence comparing prices . . . before and

after the alleged restraints”).        And even if plaintiffs could

point to higher prices, plaintiffs would still fail to plead

direct     evidence   because   higher      prices     can    be    “fully

consistent with a free, competitive market.”            Brantley v. NBC

Universal, Inc., 675 F.3d 1192, 1202 (9th Cir. 2012).

           2.    Plaintiffs Identify No Indirect Evidence of
                 Anticompetitive Effects

    Plaintiffs also fail to allege indirect evidence of

anticompetitive effects because they identify no “proof of

market power” or “evidence that the challenged restraint

harms competition.”       Ohio v. Am. Express Co., 585 U.S. 529,

542 (2018).




                                  17

 Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 22 of 38
       Plaintiffs    inflate   market       shares.         Recognizing    they

cannot    allege    Customer   Defendants       (or    even     RealPage    RMS

subscribers) have market power, plaintiffs inflate market

shares by expanding the conspiracy to include every RealPage

customer that ever licensed one of five RealPage products,

including OneSite.         (Opp.25-26.)      This tactic fails for two

reasons.

       First, plaintiffs allege no basis for including customers

that    licensed    only    OneSite    in    plaintiffs’        market    share

calculations.       Indeed, plaintiffs admit that RealPage did not

provide those customers with any nonpublic information from

other    customers.        (FAC ¶ 22.)        And     the    cases   on   which

plaintiffs rely involved market shares held by the parties to

a reciprocal exchange.         See e.g., Container Corp., 393 U.S.

at 336 (“90%” share of market among firms that engaged in

“reciprocal exchange of prices”); Todd v. Exxon Corp., 275

F.3d 191, 199, 208-09 (2d Cir. 2001) (“80-90%” share of market

among reciprocal data exchange participants).

       Second, even after inflating market shares by including

every    RealPage     customer,       plaintiffs       still     offer     only

conclusory allegations that RealPage customers account for at



                                      18

 Case 1:24-cv-00710-WO-JLW     Document 148    Filed 06/26/25    Page 23 of 38
least 30% of all markets, and “thirty percent share of the

relevant market is insufficient to confer market power” “as

a matter of law” in any event.      Dickson, 309 F.3d at 209 n.20.

In fact, courts have held that even 40% is not enough.                   See,

e.g., In re Amazon.com, Inc. eBook Antitrust Litig., 2023 WL

6006525, at *26 n.22 (S.D.N.Y. July 31, 2023) (“[A] market

share of between 30 and 40% does not lead to an inference of

market power.”).

     No plausible harm to competition.           Plaintiffs argue they

meet their burden to plead “likely and significant” harm to

competition, Dickson, 309 F.3d at 205-06, by invoking “the

nature of the information exchanged” and “the structure of

the industry” (Opp.20, 26-30).         Not so.        The “nature of the

information exchanged” weighs against plaintiffs because they

admit RealPage customers “do not get to see each other’s

individual shared data” (id.5). See Container Corp., 393 U.S.

at   334-35   (exchanging      “statistical           report[s]     on    []

average[s] . . . , without identifying the parties to specific

transactions,”    is   permissible);        In   re    Loc.   TV   Advert.

Antitrust Litig., 2022 WL 3716202, at *3 (N.D. Ill. Aug. 29,

2022) (“Dissemination of aggregated information . . . is



                                  19

 Case 1:24-cv-00710-WO-JLW   Document 148    Filed 06/26/25   Page 24 of 38
favored in the antitrust context.”).        Plaintiffs’ cited cases

are inapplicable because they all involved direct competitor

exchanges of detailed information.          See Am. Column & Lumber

Co. v. United States, 257 U.S. 377, 398-99 (1921) (competitors

received “each member[’s]” “sales and prices”); Todd, 275

F.3d at 196 (direct exchange of salary data).

      Plaintiffs’ arguments about industry structure (Opp.28-

29)   also   fail.     Plaintiffs      contend    local      markets    for

multifamily apartments are concentrated, offering random zip

codes where “five or fewer landlords” purportedly manage more

than “50% of the multifamily units.”         (FAC ¶ 79.)        This says

nothing about the shares held by RealPage customers (let alone

its RMS customers), see supra 18-19, and is also far less

than the concentration held sufficient in information-sharing

cases, see Todd, 275 F.3d at 208 (fourteen firms with 80-90%

market share).

III. PLAINTIFFS FAIL TO ESTABLISH
     THAT THEY ADEQUATELY PLEADED COUNT 2

      Plaintiffs identify no facts plausibly suggesting any

Customer Defendant agreed with RealPage to “align pricing”

through its RMS or anticompetitive effects stemming from

those supposed agreements.      Instead, plaintiffs try to recast


                                  20

 Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 25 of 38
Count 2 as challenging agreements to shape pricing processes,

but they cannot escape controlling law.

    A.      Plaintiffs Identify No Allegations Plausibly
            Suggesting an Agreement to “Align Pricing”

    Plaintiffs     make    multiple     admissions     that    doom    their

attempt to plead an agreement between any Customer Defendant

and RealPage to “align pricing”:

  • Customer Defendants “retain discretion to set rent
    and to accept or decline the price recommendations
    provided by AIRM and YieldStar” (Opp.64);

  • Customer Defendants exercise that discretion by
    overriding RealPage’s suggested prices daily (id.5);

  • “[A]verage” acceptance rates across all RealPage RMS
    customers is only “40-50%” (Mot.33);

  • RealPage software is customizable, so no two
    Customer Defendants are necessarily using the same
    software (id.6-7; see also FAC ¶¶ 49, 159, 170);

  • The FAC does not allege that Customer Defendants’
    prices changed in any way after they licensed
    RealPage’s RMS (Mot.33); and

  • The FAC does not allege that Customer Defendants
    receive the same recommendations (see FAC ¶¶ 45-47,
    51-53).

    These     admissions     are   fatal     because    they    show     that

licensing     RealPage’s     RMS    does     not    restrain       Customer

Defendants’ pricing.       RealPage’s licenses do not “deprive[]

the marketplace of independent centers of decisionmaking”


                                   21

 Case 1:24-cv-00710-WO-JLW    Document 148    Filed 06/26/25   Page 26 of 38
(Opp.52-53),     since     plaintiffs          admit      Customer          Defendants

“ultimately set” rental prices independently from RealPage’s

RMS (id.5).      And under Gibson II—which plaintiffs highlight

as “instructive” (id.34)—plaintiffs’ admission that Customer

Defendants      often     reject        RealPage’s        recommendations           is

dispositive      because       it     “cannot        be   that        the    vertical

agreements between [RealPage] and [Customer] Defendants to

license [RealPage RMS] restrain trade.”                     Gibson II, 2024 WL

2060260, at *9.

    Plaintiffs          wrongly        argue       that     just        identifying

RealPage’s software licenses “satisfies Section 1’s concerted

action requirement.”           (Opp.51-53.)          Even the cases on which

plaintiffs rely hold that just identifying a contract is

insufficient:       The        court     in    Systemcare,        Inc.       v.   Wang

Laboratories Corp. focused on the “coercive” terms of the

vertical    contract      at    issue        and   observed      that       contracts

providing “suggested price[s],” without more, fall outside

Section     1   because        they     do     not    restrain         “independent

competitive judgment.”           117 F.3d 1137, 1144 (10th Cir. 1997)

(Opp.52).       Epic Games, Inc. v. Apple, Inc. is similarly

inapposite because the court identified “three provisions” in



                                         22

 Case 1:24-cv-00710-WO-JLW          Document 148     Filed 06/26/25    Page 27 of 38
those      licenses   that     restricted      licensees’         independent

decisionmaking.       67 F.4th 946, 968 (9th Cir. 2023) (Opp.52).

       Plaintiffs try three tactics to escape their failure to

identify any contractual terms in a Customer Defendant’s

licenses that would align pricing, but those arguments fail

too.     First, plaintiffs speculate that “RealPage designed

AIRM and YieldStar to restrain how landlords price their

rental units” and that “landlord[s] . . . use the software as

it   has    been   designed.”      (Opp.53-55.)          But      plaintiffs’

speculation about       “mere possibilit[ies]” of how                 Customer

Defendants used RealPage’s RMS is entitled to no weight.

Twombly, 550 U.S. at 557.           This is especially so because

plaintiffs admit Customer Defendants retained significant

discretion in how they used RealPage’s RMS—and thus did not

uniformly use RealPage’s RMS “as designed.”                     For instance,

plaintiffs     allege   that    RealPage      “designed”        its   RMS   for

subscribers to “use [it] to set . . . unit-level prices” (FAC

¶ 28), but do not dispute that Customer Defendants rejected

prices recommended by RealPage’s RMS more than half the time

(Mot.33).     And plaintiffs do not dispute that each user can




                                    23

 Case 1:24-cv-00710-WO-JLW     Document 148    Filed 06/26/25    Page 28 of 38
custom “design” RealPage’s RMS so that the information and

pricing recommendations are unique to each user.                  (Mot.16.)

    Second,    plaintiffs       argue    that     the    Court     can   infer

vertical    agreements    to   “align    pricing”       because landlords

“understand” that if “enough” landlords license and use AIRM

and YieldStar, then their rental prices will be “raised by

the rising tide.”    (Opp.53-54.)        But plaintiffs disclaim any

theory for Count 2 based on a horizontal agreement among

Customer Defendants to align pricing.             (Opp.17.)      And even if

a landlord believed RealPage’s RMS would eventually result in

higher market prices, that says nothing about whether that

landlord agreed with RealPage to “align” its pricing.

    Last,     plaintiffs       argue     that      Customer       Defendants

“mischaracterize[e]” Count 2 because it does not allege an

agreement “to align prices” but instead an agreement to

“align[] . . . the [pricing] process.”                  (Opp.63.)     But the

FAC describes Count 2 as “Violation of Section 1 of the

Sherman Act Through Agreements to Align Pricing” (e.g., FAC

¶ 270) (emphasis in original), and insists that Count 2

challenges    “AIRM and      YieldStar users[’] agree[ment]                with

RealPage to use the software to align pricing” (id. ¶ 28; see



                                    24

 Case 1:24-cv-00710-WO-JLW     Document 148     Filed 06/26/25   Page 29 of 38
also id. ¶ 29 (alleging that landlords “use AIRM or YieldStar

to set unit-level prices”)).                  Plaintiffs now abandon their

claim as alleged, arguing               that     Count 2      is     solely about

supposed agreements to align “processes,” “responses,” and

“strategies.”      (Opp.5.)

    But plaintiffs          fare      no better       in   recasting       Count 2

because    they    identify     no     facts     plausibly      suggesting       any

vertical agreement to align “pricing processes” with RealPage.

Plaintiffs try to infer those agreements by speculating how

unidentified “landlord[s] . . . use[] the software [to]

approach the pricing of rental units” (Opp. 64), but do not

allege any Customer Defendant used it in those ways. In fact,

plaintiffs    allege     nothing about             any Customer Defendant’s

“pricing    process,”       except       that      each    Customer      Defendant

“ultimately       sets   and        offers”     rental     prices      using     its

independent discretion (Opp.5), and exercised that discretion

to reject pricing recommendations more than half the time

(Mot.33).

    B.      Plaintiffs Fail to Identify Anticompetitive
            Effects

    Plaintiffs       fail      to    plausibly       allege    anticompetitive

effects for Count 2 for the same reasons as for Count 1: They


                                         25

 Case 1:24-cv-00710-WO-JLW          Document 148    Filed 06/26/25    Page 30 of 38
do not plead direct or indirect evidence of anticompetitive

effects.       Moreover,     plaintiffs’     entire     anticompetitive

effects theory depends on aggregating all RealPage customers,

but the Fourth Circuit has foreclosed that theory by requiring

that courts analyze the effects of each vertical agreement

separately.

    No direct evidence.        Because the FAC does not identify

any Customer Defendant’s rental prices (much less allege they

increased after licensing RealPage’s RMS), plaintiffs again

speculate by asserting RealPage’s RMS could “bring[] the

pricing behavior of competing           landlords into alignment.”

(Opp.59-61.)    “[T]heoretical and anecdotal” allegations like

these are “not ‘direct’” evidence.           1-800 Contacts, 1 F.4th

at 118.    Plaintiffs’ speculation that Customer Defendants’

RMS licenses could affect some prices provides no indication

as to whether those agreements “actual[ly]” “increased prices”

across “the relevant market.”        Am. Express, 585 U.S. at 542.

    No Indirect Evidence.           According to plaintiffs, the

“essence” of Count 2 is “[t]he cumulative effect” of a series

of vertical agreements (Opp.67), but that claim is barred by

the Fourth Circuit’s decision in Dickson.                Under Dickson,



                                   26

 Case 1:24-cv-00710-WO-JLW    Document 148   Filed 06/26/25   Page 31 of 38
each     vertical    agreement’s     potential       for   anticompetitive

effects must be analyzed individually, and the effects of

separate vertical agreements cannot be aggregated.                 (See id.)

       Plaintiffs’ only answer is to ask this Court to create

an exception to Dickson, arguing that Dickson’s prohibition

on aggregation should apply only to “discrete” and “classical

vertical relationships.”          (Opp.67-68.)       But Dickson draws no

such distinction, plaintiffs cannot show that the software

licenses in Dickson were “classical vertical relationships”

in any event, and plaintiffs identify no case applying the

exception they seek to create.

       Instead, plaintiffs cite two cases they claim “conflict”

with Dickson (Opp.67 n.19)—but neither case is even in tension

with Dickson.        Dickson’s anti-aggregation rule was not at

issue in Fortner Enterprises Inc. v. U.S. Steel Corp. because

the plaintiffs there did not seek to aggregate the effects of

a    series   of    vertical    agreements,    but    instead     sought    to

aggregate the effects of a single conspiracy on themselves

and other customers. 394 U.S. 495, 496-97 (1969). Similarly,

the aggregation in Standard Oil Co. of California v. United

States, involved a claim under Section 3 of the Clayton Act;



                                     27

    Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 32 of 38
the Court did not decide whether the Sherman Act reached the

conduct at issue.        337 U.S. 293, 314 (1949); see also Tampa

Elec. Co. v. Nashville Coal Co., 365 U.S. 320, 328-29 (1961)

(describing aggregation in Standard Oil).4

IV. PLAINTIFFS’ STATE LAW CLAIMS SHOULD BE DISMISSED

       Plaintiffs cursorily argue their state law claims could

survive even if the Court dismisses their Sherman Act claims

because those state laws could be broader than federal law.

(Opp.72.)         Plaintiffs’       contention      falls         flat   because

plaintiffs premise their state claims on the same conduct

that     underlies     their      federal    claims      (Mot.40-41),         and

plaintiffs identify no conduct that falls outside federal law

but within state law.           See, e.g., Synopsys, Inc. v. ATopTech,

Inc., 2015 WL 4719048, at *10 (N.D. Cal. Aug. 7, 2015)

(dismissing unfair competition claim because plaintiffs did

not “point[] to any ‘unusual’ aspect . . . that would make []

conduct something that violate[d] the ‘policy and spirit’ of




4   Even if plaintiffs’ market share allegations could be
    aggregated, they would fail for the same reasons as
    plaintiffs’ Count 1 market share allegations. (See supra
    18-19.)


                                       28

    Case 1:24-cv-00710-WO-JLW     Document 148   Filed 06/26/25    Page 33 of 38
the   antitrust   laws   without         violating    the      actual   laws

themselves”).

      Plaintiffs’ allegations show their state and federal

claims fail together.        For instance, plaintiffs bring a claim

under California’s UCL, but allege only that “[d]efendants’

practices . . . violate the Sherman Act . . . and therefore

constitute unlawful business practices under [the UCL]” (FAC

¶ 296).   See Parducci v. Overland Sols., Inc., 399 F. Supp.

3d 969, 982 (N.D. Cal. 2019) (dismissing UCL claim based on

“unlawful” practices for same reasons as “other [underlying]

claims”). Put simply: Plaintiffs’ state claims often require

them to allege the same elements that doom their Sherman Act

claims: “that a conspiracy existed and that it unreasonably

restrained trade.”    E.g., Hackman v. Dickerson Realtors, Inc.,

520 F. Supp. 2d 954, 966 (N.D. Ill. 2007).

                               CONCLUSION

      The Court should dismiss plaintiffs’ FAC against Customer

Defendants, and plaintiffs do not dispute that any dismissal

should be with prejudice.

Respectfully submitted,                              June 26, 2025




                                    29

 Case 1:24-cv-00710-WO-JLW     Document 148   Filed 06/26/25   Page 34 of 38
/s/ Caroline M. Gieser                      /s/ James P. McLoughlin
Caroline M. Gieser                          James P. McLoughlin
(NC Bar No.: 51610)                         N.C. Bar No. 13795
Shook, Hardy & Bacon LLP                    Moore & Van Allen PLLC
1230 Peachtree St., Ste. 1200               100 North Tryon Street
Atlanta, GA 30309                           Charlotte, NC 28202
Tel: (470) 867-6013                         Phone: (704) 331-1000
cgieser@shb.com                             Fax: (704) 331-1159
                                            mcloughlinj@mvalaw.com
Ryan M. Sandrock
(LR 83.1(d) Counsel)                        Karen Hoffman Lent
Shook, Hardy & Bacon LLP                    (LR 83.1(d) Counsel)
555 Mission Street, Suite 2300              Boris Bershteyn
San Francisco, CA 94105                     (LR 83.1(d) Counsel)
Tel: (415) 544-1900                         Evan Kreiner
rsandrock@shb.com                           (LR 83.1(d) Counsel)
                                            Sam Auld
Laurie A. Novion                            (LR 83.1(d) Counsel)
(LR 83.1(d) Counsel)
Shook, Hardy & Bacon LLP                    SKADDEN, ARPS,
2555 Grand Blvd.                            SLATE, MEAGHER & FLOM LLP
Kansas City, MO 64108-2613                  One Manhattan West
Tel: (816) 474-6550                         New York, NY 10001
lnovion@shb.com                             Phone: (212) 735-3000
                                            Fax: (212) 735-2000
Maveric Ray Searle                          karen.lent@skadden.com
(LR 83.1(d) Counsel)                        boris.bershteyn@skadden.com
Meghan E.H. Keeley                          evan.kreiner@skadden.com
(LR 83.1(d) Counsel)                        sam.auld@skadden.com
Shook, Hardy & Bacon LLP
111 S. Wacker Dr., Ste. 4700                    Attorneys for Defendant
Chicago, IL 60606                               Greystar Management
Tel: (312) 704-7700                             Services, LLC
msearle@shb.com
mkeeley@shb.com

Attorneys for Defendant
Camden Property Trust




                                      30

     Case 1:24-cv-00710-WO-JLW   Document 148     Filed 06/26/25   Page 35 of 38
/s/ Eric Steven Goodheart                  /s/ Michael Montecalvo
Eric Steven Goodheart                      Michael Montecalvo
North Carolina Bar No. NC-53476            N.C. Bar No. 24943
DLA PIPER LLP (US)                         Aaron J. Horner
4141 Parklake Avenue, Suite 300            N.C. Bar No. 56335
Raleigh, North Carolina 27612              WOMBLE BOND DICKINSON (US)
eric.goodheart@us.dlapiper.com             LLP
Tel: (919) 786-2012                        One West Fourth Street
Fax: (919) 591-0412                        Winston-Salem, NC 27101
                                           Telephone: (336) 721-3600
Gregory J. Casas                           Facsimile: (336) 721-3660
(LR 83.1(d) Counsel)                       aj.horner@wbd-us.com
DLA PIPER LLP (US)                         michael.montecalvo@wbd-
303 Colorado Street, Suite 3000            us.com
Austin, Texas 78701
greg.casas@us.dlapiper.com                 Kenneth Reinker
Tel: (512) 457-7290                        D.C. Bar No. 999958
Fax: (512) 721-2390                        Jeremy Calsyn
                                           D.C. Bar No. 467737
Carsten M. Reichel                         Cleary Gottlieb Steen and
(LR 83.1(d) Counsel)                       Hamilton LLP
DLA Piper LLP (US)                         2112 Pennsylvania Avenue, NW
500 Eighth Street, NW                      Washington, D.C. 20037
Washington, DC 20004                       Telephone: (202) 974-1522
carsten.reichel@us.dlapiper.com            Facsimile: (202) 974-1999
Tel: (202) 799-4640                        E-Mail: jcalsyn@cgsh.com
Fax: (202) 799-5640                        E-Mail: kreinker@cgsh.com

Becky L. Caruso                            Joseph Kay
(LR 83.1(d) Counsel)                       N.Y. Bar No. 5410055
DLA Piper LLP (US)                         Cleary Gottlieb Steen and
51 John F. Kennedy Parkway,                Hamilton LLP
 Suite 120                                 One Liberty Plaza
Short Hills, NJ 07078-2704                 New York, NY 10006
becky.caruso@us.dlapiper.com               Telephone: (212) 225-2745
Tel: (973) 520-2550                        Facsimile: (212) 225-3999
Fax: (973) 520-2551                        E-Mail: jkay@cgsh.com

Attorneys for Willow                        Attorneys for Defendant
Bridge Property Company, LLC                Pinnacle Property Management
                                            Services, LLC



                                      31

     Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 36 of 38
                                      /s/ Kearns Davis

                                      Kearns Davis, NC Bar. No.
                                      22014
                                      Brooks, Pierce, McLendon,
                                      Humphrey & Leonard
                                      2000 Renaissance Plaza
                                      230 North Elm Street
                                      Greensboro, NC 27401
                                      Telephone: 336-373-8850
                                      Facsimile:   336-378-1001
                                      Email:kdavis@brookpierce.com

                                      David Kiernan
                                      (LR 83.1(d) Counsel)
                                      JONES DAY
                                      555 California Street
                                      26th Floor
                                      San Francisco, CA 94104
                                      (415) 875-5745
                                      dkiernan@jonesday.com

                                      Michelle K. Fischer
                                      (LR 83.1(d) Counsel)
                                      JONES DAY
                                      901 Lakeside Avenue
                                      Cleveland, OH 44114
                                      (216) 586-7096
                                      mfischer@jonesday.com

                                      Peter J. Schwingler
                                      (LR 83.1(d) Counsel)
                                      JONES DAY
                                      90 South Seventh Street
                                      Suite 4950
                                      Minneapolis, MN 55402
                                      (612) 217-8866
                                      pschwingler@jonesday.com

                                      Attorneys for Defendant
                                      LivCor, LLC



                                 32

Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 37 of 38
                   CERTIFICATE OF WORD COUNT

    I certify that this Reply Memorandum of Law in Support

of Customer Defendants’ Motion to Dismiss the First Amended

Complaint complies with the applicable word limits excluding

the caption, signature line, and any cover page or index in

accordance with this Court’s March 13, 2025 Order extending

the word limitation, Dkt. 123, and Local Civil Rule 7.3(d)(1).

This certification is made in accordance with Local Civil

Rule 7.3(d)(1).    The undersigned relied upon the word count

feature provided by word-processing software and the Reply

Memorandum of Law contains 5,018 words.

    This 26th day of June, 2025.

                                       /s/ James P. McLoughlin

                                       James P. McLoughlin
                                       N.C. Bar No. 13795
                                       Moore & Van Allen PLLC
                                       100 North Tryon Street
                                       Charlotte, NC 28202
                                       Phone: (704) 331-1000
                                       Fax: (704) 331-1159
                                       mcloughlinj@mvalaw.com

                                       Attorneys for Defendant
                                       Greystar Real Estate
                                       Partners, LLC




                                  33

 Case 1:24-cv-00710-WO-JLW   Document 148   Filed 06/26/25   Page 38 of 38
